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            3
            4   Marc N. Kapetan, #158322
            5   Attorneys for: Robert Hernandez

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            7
            8                          IN THE UNITED STATES DISTRICT COURT
            9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
           10
                                                                    Case No. 1:06CR00284-12 OWW
           11   UNITED STATES OF AMERICA
           12                  Plaintiffs,                          APPLICATION FOR ORDER
                                                                    EXONERATING PROPERTY
           13          v.                                           BOND AND FOR
                                                                    RECONVEYANCE OF REAL
           14   ROBERT HERNANDEZ                                    PROPERTY AND ORDER
                                                                    THEREON
           15                  Defendant.
           16
           17          TO THE HONRABLE JUDGE OF THE ABOVE-ENTITLED COURT, THE

           18   UNITED STATES ATTORNEY’S OFFICE AND/OR ITS REPRESENTATIVE AND TO
           19   ALL COUNSEL FOR CO-DEFENDANT’S HEREIN:
           20
                       DEFENDANT, ROBERT HERNANDEZ, through his attorney, Marc N. Kapetan,
           21
                hereby moves this Honorable court for an order exonerating the property bond and for
           22
           23   reconveyance of the real property in the above-entitled case.

           24          On October 6, 2006, this Court ordered Defendant released from custody under
           25   condition of pre-trial services supervision and a $50,000.00 real property bond. A real
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                property bond and promissory note were delivered to the Court, on December 7, 2006.
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                       Accordingly, on September 13, 2007, Defendant surrendered himself to the custody of
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                the United States Marshall, in full compliance with the Court’s Order. Defendant is currently
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            3   incarcerated at Taft.

            4          As a result of said Judgment and Sentence, Defendant respectfully requests that this
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                Court exonerate the bond previously set by this Court and reconvey title to the real property
            6
                securing said bond.
            7
                       Assistant U.S. Attorney, Kevin P. Rooney, does not oppose this Motion.
            8
            9   Dated: September 13, 2007                            Respectfully submitted

           10                                                        KAPETAN BROTHERS
           11
           12
                                                                     /s/ Marc N. Kapetan_____________
           13                                                        Marc N. Kapetan
                                                                     Attorneys for Defendant,
           14
                                                                     Robert Hernandez
           15
           16                                               ORDER
           17          IT IS HEREBY ORDERED that the property bond, be exonerated.
           18
           19
                DATED September 18, 2007                             /s/ Oliver W. Wanger
           20                                                        OLIVER W. WANGER
           21                                                        Judge, U.S. District Court

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